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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 IMPLICIT, LLC,                                 §
                                                §
           Plaintiff,                           §
                                                §         Civil Action No. 2:18-cv-53-JRG
 v.                                             §                   LEAD CASE
                                                §
 NETSCOUT SYTEMS, INC.,                         §           JURY TRIAL DEMANDED
                                                §
           Defendant.                           §


                        FOURTH AMENDED DOCKET CONTROL ORDER


       In accordance with the scheduling conference held in this case, it is hereby ORDERED

that the following schedule of deadlines is in effect until further order of this Court:

 Current Deadline         Amended Deadline                             Event

 September 9, 2019                              *Jury Selection – 9:00 a.m. in Marshall, Texas
                                                Before Judge Rodney Gilstrap

 August 12, 2019                                *Pretrial Conference – 9:00 a.m. Marshall, Texas
                                                before Judge Rodney Gilstrap

 N/A                      August 7, 2019        *Notify Deputy Clerk in Charge regarding the
                                                date and time by which juror questionnaires shall
                                                be presented to accompany by jury summons if the
                                                Parties desire to avail themselves the benefit of
                                                using juror questionnaires1




       1
       The Parties are referred to the Court’s Standing Order Regarding Use of Juror
Questionnaires in Advance of Voir Dire.


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Current Deadline   Amended Deadline                          Event

August 7, 2019                        *Notify Court of Agreements Reached During
                                      Meet and Confer

                                      The parties are ordered to meet and confer on any
                                      outstanding objections or motions in limine. The
                                      parties shall advise the Court of any agreements
                                      reached no later than 1:00 p.m. three (3) business
                                      days before the pretrial conference.

August 5, 2019                        *File Joint Pretrial Order, Joint Proposed Jury
                                      Instructions, Joint Proposed Verdict Form,
                                      Responses to Motions in Limine, Updated Exhibit
                                      Lists, Updated Witness Lists, and Updated
                                      Deposition Designations

July 29, 2019                         *File Notice of Request for Daily Transcript or
                                      Real Time Reporting.

                                      If a daily transcript or real time reporting of court
                                      proceedings is requested for trial, the party or
                                      parties making said request shall file a notice with
                                      the Court and e-mail the Court Reporter, Shelly
                                      Holmes, at shelly_holmes@txed.uscourts.gov.

July 22, 2019      July 26, 2019      File Motions in Limine

                                      The parties shall limit their motions in limine to
                                      issues that if improperly introduced at trial would
                                      be so prejudicial that the Court could not alleviate
                                      the prejudice by giving appropriate instructions to
                                      the jury.

July 22, 2019      July 26, 2019      Serve Objections to Rebuttal Pretrial Disclosures

July 12, 2019      July 19, 2019      Serve Objections to Pretrial Disclosures; and
                                      Serve Rebuttal Pretrial Disclosures

July 1, 2019       July 9, 2019       Serve Pretrial Disclosures (Witness List,
                                      Deposition Designations, and Exhibit List) by the
                                      Party with the Burden of Proof




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Current Deadline   Amended Deadline                         Event

June 3, 2019       June 19, 2019      *File Motions to Strike Expert Testimony
                                      (including Daubert Motions)

                                      No motion to strike expert testimony (including a
                                      Daubert motion) may be filed after this date
                                      without leave of the Court.

June 3, 2019       June 19, 2019      *File Dispositive Motions

                                      No dispositive motion may be filed after this date
                                      without leave of the Court.

                                      Motions shall comply with Local Rule CV-56 and
                                      Local Rule CV-7. Motions to extend page limits
                                      will only be granted in exceptional circumstances.
                                      Exceptional circumstances require more than
                                      agreement among the parties.

May 29, 2019       June 12, 2019      Deadline to Complete Expert Discovery

May 13, 2019       May 28, 2019       Serve Disclosures for Rebuttal Expert Witnesses

April 22, 2019     May 7, 2019        Serve Disclosures for Expert Witnesses by the
                                      Party with the Burden of Proof

April 16, 2019     May 1, 2019        Deadline to Complete Fact Discovery and File
                                      Motions to Compel Discovery

April 24, 2019     May 3, 2019        Deadline to Complete Mediation

                                      The parties are responsible for ensuring that a
                                      mediation report is filed no later than 5 days after
                                      the conclusion of mediation.

April 17, 2019                        Comply with P.R. 3-7 (Opinion of Counsel
                                      Defenses)

April 5, 2019                         *Claim Construction Hearing – 1:30 p.m.
                                      Marshall, Texas before Judge Rodney Gilstrap

March 19, 2019                        *Comply with P.R.           4-5(d)   (Joint   Claim
                                      Construction Chart)

March 18, 2019                        *Comply with P.R.         4-5(c)     (Reply   Claim
                                      Construction Brief)



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 Current Deadline       Amended Deadline                             Event

 March 11, 2019                                Comply with P.R. 4-5(b) (Responsive Claim
                                               Construction Brief

 February 25, 2019                             Comply with P.R. 4-5(a) (Opening Claim
                                               Construction Brief) and Submit Technical
                                               Tutorials (if any)

                                               Good cause must be shown to submit technical
                                               tutorials after the deadline to comply with P.R. 4-
                                               5(a).

 February 13, 2019                             Deadline to Substantially Complete Document
                                               Production and Exchange Privilege Logs

                                               Counsel are expected to make good faith efforts to
                                               produce all required documents as soon as they are
                                               available and not wait until the substantial
                                               completion deadline.

 February 18, 2019                             Comply with P.R. 4-4 (Deadline to Complete
                                               Claim Construction Discovery)

 January 23, 2019                              File Response to Amended Pleadings

 January 9, 2019                               *File Amended Pleadings

                                               It is not necessary to seek leave of Court to amend
                                               pleadings prior to this deadline unless the
                                               amendment seeks to assert additional patents.

 February 4, 2019                              Comply with P.R. 4-3 (Joint Claim Construction
                                               Statement)

 February 1, 2019                              NetScout and Sandvine to serve Supplemental
                                               Invalidity Contentions


(*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
shown merely by indicating that the parties agree that the deadline should be changed.

                              ADDITIONAL REQUIREMENTS

       Notice of Mediator: The parties are to jointly file a notice that identifies the agreed upon
mediator or indicates that no agreement was reached. If the parties do not reach an agreement, the



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Court will appoint a mediator. The parties should not file a list of mediators to be considered by
the Court.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) copies of the
completed briefing (opening motion, response, reply, and if applicable, surreply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. For expert-related motions, complete digital copies of the
relevant expert report(s) and accompanying exhibits shall submitted on a single flash drive. These
copies shall be delivered as soon as briefing has completed.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)       The fact that there are motions for summary judgment or motions to dismiss pending;

(b)       The fact that one or more of the attorneys is set for trial in another court on the same day,
          unless the other setting was made prior to the date of this order or was made as a special
          provision for the parties in the other case;

(c)       The failure to complete discovery prior to trial, unless the parties can demonstrate that it
          was impossible to complete discovery despite their good faith effort to do so.
      .
       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”
           SIGNED this 19th day of December, 2011.
          So ORDERED and SIGNED this 14th day of March, 2019.




                                                             ____________________________________
                                                             RODNEY GILSTRAP
                                                             UNITED STATES DISTRICT JUDGE
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